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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE

VICTOR BODDIE,                                   ]
                                                 ]
        PLAINTIFF,                               ]
                                                 ]
V.                                               ]        CASE NO: 2:19-cv-02423-JPM-dkv
                                                 ]        JURY DEMAND
THE CHEMOURS COMPANY,                            ]
A/K/A THE CHEMOURS COMPANY                       ]
FC, LLC, a Delaware Corporation                  ]
                                                 ]
        DEFENDANT.                               ]

                      DEFENDANT’S MOTION TO BIFURCATE TRIAL

        Defendant The Chemours Company a/k/a The Chemours Company FC, LLC (“Chemours” or

“Defendant”) files this motion pursuant to Rule 42(b) of the Federal Rules of Civil Procedure

requesting that the Court bifurcate the trial of this action so that the amount of any damages award

(compensatory and/or punitive) by the jury would be determined in a separate, second phase of the

trial. The second phase of the trial would occur only if, and only after, the jury finds Defendant is liable

to Plaintiff for violation(s) of Title VII of the Civil Rights Act of 1964 (“Title VII”) and the Age

Discrimination in Employment Act (“ADEA”), 42 U.S.C. § 12117.

        This Court has the discretion under Rule 42(b) to bifurcate the issues of liability and damages.

A bifurcated trial is necessary to prevent Defendant from being unfairly prejudiced by presentation to

the jury of evidence regarding its financial condition during the liability portion of the trial. See Saxion

v. Titan-C-Manufacturing, Inc., 86 F.3d 553, 556 (6th Cir. 1996) (district court may bifurcate a trial in

furtherance of convenience, or to avoid prejudice, or when separate trials will be conducive to

expedition and economy, and only one of these criteria need be met to justify bifurcation).

        Failure to bifurcate the trial of this action would create the substantial likelihood that Defendant

would be unfairly prejudiced by the influence that information about its finances could have on the

jurors; whose decision making on the issues of liability would be affected by the premature introduction
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of such evidence. Further, evidence of Defendant’s finances is irrelevant to the liability portions of

this case, and its premature introduction would offer no probative value and only the substantial risk

of unfair prejudice on those issues.

         For the foregoing reasons, Defendant requests that the Court grant its Motion to Bifurcate and

order that the amount of any damages award against it be determined in a separate, second phase of

the trial. In the event that the Court does not bifurcate damages from liability, Defendant asserts that

the Court should at least bifurcate determination of the amount of punitive damages, if any, that

Plaintiff may be awarded.

                                                  Respectfully submitted,


                                                  _s/ James C. Bradshaw III________________
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                                       CERTIFICATE OF SERVICE

         I hereby certify that a true and exact copy of the foregoing was filed and served upon the following

via email and U.S. Mail, postage pre-paid, on this the 27th day of May, 2022:


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                                                  _s/ James C. Bradshaw III_____________________
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